     Case: 1:16-cv-10743 Document #: 13 Filed: 02/17/17 Page 1 of 2 PageID #:171



                                                                                               017-019-1
                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS


SYMBOLOGY INNOVATIONS, LLC                           )
                                                     )
        Plaintiff,                                   )    CIVIL ACTION NO. 2016-CV-010743
                                                     )
        v.                                           )    JURY TRIAL DEMANDED
                                                     )
FIRST NATIONAL BANK OF OMAHA                         )
                                                     )
        Defendant.                                   )

                         NOTICE OF DISMISSAL WITH PREJUDICE


        Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby provides notice

that it dismisses all of its claims in this action WITH PREJUDICE. Each party shall bear its own costs,

expenses, and attorneys' fees.


 Dated: February 17, 2017                         By: /s/ Frank Andreou
                                                  Frank Andreou (6228760)
                                                  Andreou & Casson, Ltd.
                                                  661 West Lake Street
                                                  Suite 2 North
                                                  Chicago, Illinois 60661-1034
                                                  Tel (312) 935-2000
                                                  Fax (312) 935-2001


                                                  /s/ Eugenio J. Torres-Oyola
                                                  Eugenio J. Torres-Oyola
                                                  Ferraiuoli LLC
                                                  221 Plaza, 5th Floor
                                                  221 Ponce de León Avenue
                                                  San Juan, PR 00917
                                                  Telephone: (787) 766-7000
                                                  Facsimile: (787) 766-7001
                                                  Email: etorres@ferraiuoli.com


                                                  ATTORNEYS FOR PLAINTIFF
                                                  SYMBOLOGY INNOVATIONS LLC
    Case: 1:16-cv-10743 Document #: 13 Filed: 02/17/17 Page 2 of 2 PageID #:172




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

documents has been served on February 17, 2017, to all counsel of records who deemed to have

consented to electronic service via the Court’s CM/EFF system per Local Rule LR 5.5(b).


                                                          /s/ Eugenio J. Torres-Oyola
                                                          Eugenio J. Torres-Oyola
